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 10.000 PROCEDURE MANUAL AND OTHER BINDING WRITTEN
        DIRECTIVES

 Purpose:
 To provide an official guide outlining the way to do many of the routine operations which
 confront the Cincinnati Police Department.
 To provide efficient methods and high standards for procedures, rules, regulations,
 policies and directives recognized as official policy and applied on a department-wide
 basis.
 Policy:
 The Cincinnati Police Department Procedure Manual, as well as all other Police
 Department procedures, rules, regulations, policies, and directives are used to maintain
 compliance with Federal, State and Local laws and ordinances, Labor Agreements,
 Civil Service Rules and Regulations, Administrative Rules and Regulations, and
 Personnel Policies and Procedures.
 The nature of police service is such that it is impossible to develop a procedure, plan, or
 other binding directive for every situation that might arise. Therefore,
 district/section/unit commanders have the duty of thoroughly reviewing the activities of
 subordinates, as they must assume the ultimate responsibility for defects and
 weaknesses in police work.
 Procedure:
 A.    Department Binding Directives include:
       1.    The Procedure Manual, Manual of Rules and Regulations and Disciplinary
             Process for the Cincinnati Police Department, Staff Notes, Job Descriptions,
             Bureau/District/Section/Unit Standard Operating Procedure’s (SOP),
             Department Operations Manuals and all Department approved instructional
             materials, unless specified otherwise, including Ohio Police Officer Training
             Academy lesson plans, Forms 17 approved by the Police Chief; Forms 17 or
             other memos authored by bureau, section, or unit commanders are
             considered binding upon all personnel permanently or temporarily assigned
             to their command.
             a.    Staff Note items are binding for one year from the date of publication,
                   unless added to other Department binding directives.
       2.    Procedures and other binding Department directives will be issued by
             authority of the Police Chief through the Department Staff Notes. The Police
             Chief may cancel, revise, amend, or add to any procedure or other binding
             directive whenever he deems necessary.




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       3.    Officers may request changes in procedures or other binding directives by
             submitting a Form 17 through their chain of command to the Police Chief,
             stating reasons why such change is necessary or desirable. After thorough
             research, necessary changes will be made for the Chief's approval. All
             revisions will then appear in the Department Staff Notes.
       4.    All personnel will thoroughly acquaint themselves with the Procedure
             Manual, other binding directives, and all changes. When a change occurs,
             supervisors will advise all members of their command to familiarize
             themselves with the change.
             a.    After all personnel are advised; file the procedure or other binding
                   directive in the appropriate manual.
                   1)    Use the decimal serial number as a guide for the Procedure
                         Manual. The Table of Contents and the Index will also be
                         properly marked according to instructions accompanying new or
                         amended procedures.
 B.    Other Binding Directives include:
       1.    Federal, State and Local laws and ordinances, Labor Agreement by and
             between Queen City Lodge #69 Fraternal Order of Police and the City of
             Cincinnati, Labor-Management Agreement by and between the City of
             Cincinnati and Ohio Council 8 and Locals 190, 223, 240, 250, 1543 and
             3119 American Federation of State, County, and Municipal Employees AFL-
             CIO, Civil Service Rules and Regulations, City of Cincinnati Administrative
             Rules and Regulations, City of Cincinnati Personnel Policies and Procedures
             and written or verbal orders issued by a superior officer.
 C.    Forms:
       1.    Initiate/revise forms for Department use using the same process as
             procedures and other binding directives. With the Police Chief's approval,
             new/revised forms will appear in the Department Staff Notes.




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